    Case: 1:23-cv-15814 Document #: 49 Filed: 06/20/25 Page 1 of 6 PageID #:148




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

OSHANE K. JONES,                                   )
                                                   )
               Plaintiff,                          )
                                                   )           No. 23-cv-15814
       v.                                          )
                                                   )           Judge April M. Perry
ADVOCATE AURORA HEALTH,                            )
                                                   )
               Defendant.                          )

                                     OPINION AND ORDER

       Oshane K. Jones (“Plaintiff”), proceeding pro se, brings this employment discrimination

case against Advocate Aurora Health (“Defendant”) under Title VII of the Civil Rights Act of

1964 (“Title VII”). Doc. 33. Specifically, Plaintiff alleges that Defendant failed to reasonably

accommodate Plaintiff's religion by denying his influenza vaccine exemption request and then

retaliated against Plaintiff by terminating Plaintiff's employment. Id.

       In July 2024, Defendant filed its first motion to dismiss Plaintiff’s retaliation claim. Doc.

18. Defendant argued that the retaliation claim was time barred, not administratively exhausted,

and factually deficient. Doc. 20. This Court concluded that the retaliation claim was not time

barred and did not reach the administrative exhaustion issue because no party had submitted to

the Court Plaintiff’s EEOC complaint. Doc. 31. The Court granted Defendant’s motion to

dismiss the retaliation claim solely because Plaintiff’s initial complaint did not allege that

Plaintiff had engaged in a statutorily protected activity that was known to Defendant prior to the

retaliation that Plaintiff claimed to have suffered. Id. Plaintiff amended his complaint in March

2025, Doc. 33, and Defendant again moves for dismissal of the retaliation claim. Doc. 39. For

the following reasons, Defendant’s motion is denied.
    Case: 1:23-cv-15814 Document #: 49 Filed: 06/20/25 Page 2 of 6 PageID #:149




                                        BACKGROUND

       As is appropriate in deciding a motion to dismiss, the Court accepts the facts in Plaintiff's

complaint as true and views them in the light most favorable to him. See Killingsworth v. HSBC

Bank Nev., N.A., 507 F.3d 614, 618 (7th Cir. 2007). The Court also considers Plaintiff’s EEOC

complaint, which is a public record that now has been submitted by Defendant. Doc. 4-1, see

Fosnight v. Jones, 41 F.4th 916, 922 (7th Cir. 2022) (“It’s well established that judges may take

judicial notice of matters of public record when ruling on a motion to dismiss.”).

       The facts of this case center on Defendant’s vaccine policy. Defendant set a deadline of

September 17, 2021, for employees to submit proof that they had received the influenza vaccine

or to submit religious exemptions requests. Doc. 33. This deadline was extended four times, with

the last deadline being November 30, 2021. Id.

       Plaintiff alleges that throughout September 2021, Plaintiff experienced issues uploading

his religious exemption request form. Id. He asked his supervisor, Aubrey Day (“Day”), for help

with the process. Id. Day was not familiar with the upload process, but told Plaintiff that he

would get back to him. Id. On September 21, four days after the original exemption deadline

passed, Day gave Plaintiff guidance on the upload process, and Plaintiff successfully uploaded

the exemption form. Id. After his exemption was denied, Plaintiff wrote an appeal letter

explaining why his form was submitted late. Id. Defendant refused to accept the late submission,

despite the fact that the upload time had been extended for other employees. Id. Plaintiff then

complained to his supervisor, human resources, and employee health that he was being

discriminated against. Id. Plaintiff was terminated from his position as a courier on November

10, 2021, though the extended deadline for vaccination had not yet passed. Id.




                                                 2
       Case: 1:23-cv-15814 Document #: 49 Filed: 06/20/25 Page 3 of 6 PageID #:150




         Plaintiff filed a charge of discrimination with the Illinois Department of Human Rights

and the United States Equal Employment Opportunity Commission (“EEOC”) on February 22,

2022. Doc. 40-1 at 2.

                                       LEGAL STANDARD

         Under Rule 12(b)(6), a case may be dismissed when a plaintiff “fail[s] to state a claim

upon which relief can be granted.” FED. R. CIV. P. 12(b)(6). This is a challenge to the sufficiency

of a complaint, not its merits. See Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir.

1990). When considering a Rule 12(b)(6) motion, the Court accepts as true all well-pleaded facts

in the complaint and draws all reasonable inferences from those facts in the plaintiff's favor. See

Kubiak v. City of Chicago, 810 F.3d 476, 480–81 (7th Cir. 2016). To survive a Rule 12(b)(6)

motion, the complaint must “state a claim to relief that is plausible on its face” and provide fair

notice to the defendant of the claim's basis. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim

is facially plausible “when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. The plaintiff

does not need to plead particularized facts, but the allegations in the complaint must be sufficient

to “raise a right to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007). Threadbare recitals of the elements of a cause of action and allegations that are

merely legal conclusions are not sufficient to survive a motion to dismiss. See Iqbal, 556 U.S. at

678.

                                             ANALYSIS

         As an initial matter, the Court notes that Plaintiff’s purported response to the motion to

dismiss is substantively a response to Defendant’s answer. Doc. 42; Doc. 44. Defendant argues

that Plaintiff’s non-responsiveness should result in waiver of any argument regarding exhaustion



                                                   3
    Case: 1:23-cv-15814 Document #: 49 Filed: 06/20/25 Page 4 of 6 PageID #:151




of administrative remedies. Doc. 45 at 2. However, the Court is mindful that Plaintiff is

proceeding pro se and seems to have been confused about what was expected of him. It is the

“well-established duty of the trial court to ensure that the claims of a pro se litigant are given a

fair and meaningful consideration.” Palmer v. City of Decatur, 814 F.2d 426, 428–29 (7th Cir.

1987). Given that it is Defendant’s burden to prove failure to exhaust administrative remedies,

Massey v. Helman, 196 F.3d 727, 735 (7th Cir. 1999), the Court exercises its discretion to reach

the merits of the motion to dismiss.

       The antiretaliation provision of Title VII prohibits an employer from discriminating

against an employee because that employee has “opposed any practice made an unlawful

employment practice” by Title VII. 42 U.S.C. § 2000e-3(a). To adequately plead a retaliation

claim under Title VII, Plaintiff must allege that he “engaged in statutorily protected activity and

was subjected to adverse employment action as a result of that activity.” Luevano v. Wal-Mart

Stores, Inc., 722 F.3d 1014, 1029 (7th Cir. 2013). The plaintiff need not “present proof of a

causal link between the protected expression ... and the adverse employment action.” Id.

However, there must some facts from which one could draw the inference that the protected

activity could have caused the adverse employment action. See Cervantes v. Ardagh Grp., 914

F.3d 560, 566 (7th Cir. 2019) (upholding dismissal of retaliation claim where plaintiff did not

allege that his supervisors knew about his discrimination complaint).

       Before bringing a Title VII claim in federal court, “a plaintiff must first exhaust his

administrative remedies by filing charges with the EEOC and receiving a right to sue letter.”

Chaidez v. Ford Motor Co., 937 F.3d 998, 1004 (7th Cir. 2019). This requirement serves two

purposes: “first, it allows the EEOC and the employer an opportunity to settle the matter, and

second, it ensures that the employer has adequate notice of the conduct the employee is



                                                  4
    Case: 1:23-cv-15814 Document #: 49 Filed: 06/20/25 Page 5 of 6 PageID #:152




challenging.” Id. Any resulting lawsuit is limited to claims included in the EEOC charge, and

those that are “like or reasonably related to the allegations of the charge.” Id. Claims are “like or

reasonably related” when “(1) there is a reasonable relationship between the allegations in the

charge and the claims in the complaint” and (2) “the claim in the complaint can reasonably be

expected to grow out of an EEOC investigation of the allegations in the charge.” Id. “The charge

and the complaint may be reasonably related if, at a minimum, they describe the same

circumstances and participants.” Cervantes v. Ardagh Grp., 914 F.3d 560, 565 (7th Cir. 2019).

Because EEOC charges are typically initiated by “laymen unassisted by lawyers,” the EEOC

charge should be liberally construed. Jenkins v. Blue Cross Mut. Hosp. Ins., Inc., 538 F.2d 164,

168 (7th Cir. 1976).

       Plaintiff filed his EEOC charge on February 22, 2022. Doc. 40-1 at 2. The form Plaintiff

used was entitled “Charge of Discrimination” and had a blank under the Section entitled

“Discrimination based on” under which Plaintiff typed “Religion.” Id. In the narrative section,

Plaintiff typed:

       I began my employment with Respondent on or about August 25, 2020, as a Courier
       Driver. In or around November 2021, I submitted a request for a religious exemption for
       the Influenza vaccine. Respondent denied my request. I appealed Respondents decision
       and the appeal was denied. Subsequently, Respondent informed me that I must be
       vaccinated by November 30, 2021. However, Respondent discharged me on November
       11, 2021. I believe I was discriminated against because of my religion (Other), in
       violation of Title VII of the Civil Rights Act of 1964, as amended. Id.

       Defendant argues that Plaintiff’s EEOC charge raised only a claim of religious

discrimination, not one for retaliation. However, the Court concludes that there is a reasonable

relationship between Plaintiff’s religious discrimination claim and Plaintiff’s retaliation claim

because they involve the same circumstances and participants. Though Plaintiff did not use the

word “retaliation” in his EEOC charge, his allegations plead the elements of a retaliation claim.



                                                  5
    Case: 1:23-cv-15814 Document #: 49 Filed: 06/20/25 Page 6 of 6 PageID #:153




See Alibuxsh v. Extractor Corp., No. 19-cv-03032, 2020 WL 10937721, at *2 (N.D. Ill. Dec. 18,

2020) (reading EEOC charge liberally and finding that plaintiff’s failure to expressly identify

retaliation as a basis for his EEOC charge did not warrant dismissal because he alleged a

retaliation claim in his EEOC charge). Specifically, Plaintiff describes requesting a religious

exemption, being denied the exemption, appealing the denial, losing the appeal, and then being

terminated though his time for getting vaccinated had not yet passed. While it is not settled law

that requesting a religious exemption alone constitutes protected activity under Title VII,

Plaintiff also appealed the denial of his exemption. The Court believes that this could be viewed

as opposing an unlawful employment practice. And to terminate an employee before the time for

the employee to comply with the vaccine policy has expired certainly raises a plausible inference

that the termination was retaliatory.

       The Court notes that the EEOC form Plaintiff used did not have boxes to check different

offenses like “discrimination” or “retaliation,” such that one could infer a purposeful decision not

to raise a retaliation claim at the administrative level. See Peters v. Renaissance Hotel Operating

Co., 307 F.3d 535, 550 (7th Cir. 2002) (weighing the fact that plaintiff did not check the

“retaliation” box and concluding that plaintiff failed to administratively exhaust his retaliation

claim). Rather, Plaintiff’s form had only “discrimination” as an option. Given this, and liberally

construing the facts alleged in the EEOC complaint, the Court therefore finds that Defendant has

not met its burden of demonstrating that Plaintiff failed to exhaust his administrative remedies.

Defendant’s motion to dismiss is denied.



Dated: June 20, 2025                                          ______________________
                                                              APRIL M. PERRY
                                                              United States District Judge



                                                  6
